                     Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 1 of 18



AO 106 (Rev. 04/10) Applicauon for a Search Warrant



                                          UNITED STATES DISTRICT COURT
                                                                                  for the
                                                                      District of Kansas

                In the Matter of the Search of                                      )
           (Briefly describe the property to be searched                            )
            or identify the person by name and address/                             )          Case No. 21-M-6120-01-KGG
a black T-Mobilc cellular device, currently m possess10n of the ATf ai. furrher     )
described in anachment A.                                                           )
                                                                                    )

                                                  APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property /identify the person or describe the
 property to be searched and gi\'e its location)
   a black T-Mob,Ic cellular device. currently m po;sess1on of the ATF as furrher described in attachment A.


 located in the                                       District of                        Kansas                . there is now concealed (ide1111fy the
 perso11 or describe the property to be sei:edJ:

   See Attachment B


            The basis for the search under Fed. R. Crim. P. 4 l(c) is /check one or more;:
                     ~ evidence of a crime:
                     ~ contraband. fruits of crime, or other items illegally possessed;
                     ~ property designed for use, intended for use. or used in committing a crime;
                     0 a person to be arrested or a person who is unlawfully restrained.

             The search is related to a violation of:
                Code Section                                                                      Offense Description
          21 U.S.C § 841 (a)(1)                         possession with intent to distribute and aistribution of a controlled substance




             The application is based on these facts:

           See Attached Affidavit of Probable Cause.

              rlf   Continued on the attached sheet.




                                                                                                                            -----
              0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
                under 18 U.S.C. § 3103a. the basis of which is set forth on the attached sheet.




                                                                                                                  Special Agent, ATF
                                                                                               - -T. Watterson,
                                                                                     - - - - -Brett   Pri11ted name and title




  Date:          Jul 14, 2021
                       __ __________
                      _ : . KS
  City and state: Wichita,                                                              ____U.S. Magistrate Judge, Kenneth G. Gale
                                                                                                               Printed name and title
      Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 2 of 18




                                       A TfACHMENT A

A. The property to be searched is a cellular phone. Specifically, a black T-Mobile cellular device.

   Including any SIM card or other removable memory, if applicable. The cellular device was

   seized from Bambidele OGUNBIYI on or about May 25, 202 l, while being detained for an

   outstanding arrest warrant. The device is black in color and has a red button on one side. The

   device was seized with a black case. The number sequence "IMEi 015734002814926" appear

    on the back side of the device. This device is currently in ATF custody.
Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 3 of 18




                              ATT ACHM ENT B


 A.   All digital or electronic information stored inside the cellular telephones would

      reveal evidence of drug trafficking, including, but not limited to, any and all names

      and/or aliases. addresses, telephone numbers, stored images, and/or other

      information, which identifies possible associates and/or co-conspirators;

 B.   All digital or electronic information stored inside the cellular telephones would

      reveal evidence of drug trafficking, including, but not limited to. any and all names

      and/or aliases, addresses, telephone numbers, dates of calls, times of calls, and/or

      duration of calls, which identifies calls made to and/or from ;

 C.   All digital or electronic information stored inside the cellular telephones would

      reveal evidence of drug trafficking, including but not limited to, any and all stored

      voice mail, text messages. and/or e-mails;

 D.   All digital or electronic information stored inside the cellular telephone would

      reveal evidence of drug trafficking, including, but not limited to, any and all stored

       images, photos, videos, and pictures;

 E.    All digital or electronic information stored inside the cellular telephone would

       constitute indicia of ownership and/or use of such devices.
       Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 4 of 18




                               AFFIDAVIT
            IN SUPPORT OF APPLICATION FOR SEARCH WARRANT


       I, Brett T. Watterson, (here-in-after known as Affiant) being duly sworn, declare and state:

                                       INTRODUCTION

       1.      Your Affiant has been employed by ATF since 2008 and a Special Agent since

2013. Your Affiant is currently assigned to the Wichita Field Office (Wichita, KS). As a Special

Agent with ATF, your Affiant attended the Criminal Investigator Training program at the Federal

Law Enforcement Training Center in Brunswick, GA. Your Affiant is also a graduate of the ATF

Special Agent Basic Training course. Moreover, your Affiant has completed multiple ATF

Advanced Investigative Techniques programs. Prior to becoming an ATF Agent, your Affiant

served as an Industry Operations Investigator for the bureau. Currently, your Affiant is a part-time

member of the Special Response Team and serves as a Team Leader for the Crisis Negotiation

Program. As a Special Agent with ATF your Affiant has received training in arson, explosives,

firearms, tobacco, violent crime, gang related investigation and drug trafficking investigations.

Moreover, your Affiant has conducted and/or participated in investigations involving, explosives,

firearms, controlled substances, and violent crimes. Throughout multiple investigations, your

Affiant has utilized confidential informants to obtain information and evidence, conducted

interviews of suspects and witnesses, wTitten, and executed state/federal search warrants, and

authored/executed state/federal arrest warrants. Your Affiant has conducted and/or participated in

investigations resulting in the seizure of contraband, currency, vehicles, and other evidentiary

items related to narcotics and violent crime. Your Affiant has a Bachelor of Science in Criminal
       Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 5 of 18




Justice from the University of Missouri Central and a Master of Science in Forensic Science from

the University of New Haven.

       2.      Your Affiant is an investigative or law officer of the United States, within the

meaning of Section 2510(7) of Title 18. United States Code, that is, an officer of the United States

empowered by law to conduct investigations of and to make arrests for offenses enumerated in

Section 2516, Title 18, United States Code.

                                  PURPOSE OF AFFIDAVIT

       3.      Based on my training and experience and the facts as set forth in this affidavit. there

is probable cause to believe that violations of the Controlled Substances Act, including Title 21,

United States Code. Section 841 (possession with intent to distribute and distribution of a

controlled substance) have been and/or are being committed by Bambidele OGUNBIYI and others.

The information provided in this affidavit is based on my personal knowledge and observations,

as well as information I have received from other law enforcement officers. This affidavit is being

submitted for the limited purpose of obtaining judicial authorization for the issuance of a search

warrant, pursuant to Rule 41 of the Federal Rules of Criminal Procedure, for the item described

below. As described in this affidavit, the below-listed item was seized on May 25, 2021 from

Bambidele OGUNBIYI. Every fact known concerning this investigation has not been included. I

have set forth only those facts that I believe are necessary to establish probable cause for an

application authorizing a search warrant for the following device:

        A black T-Mobile cellular device. Including any SIM card or other removable

        memory, if applicable.




                                                  2
          Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 6 of 18




                       CELLULAR TELEPHONE TO BE SEARCHED

          4.   The property to be searched is a cellular phone. Specifically, a black T-Mobile

cellular device. Including any SIM card or other removable memory, if applicable. The cellular

device was seized from Bambidele OGUNBIYI on or about May 25, 2021, while being detained

for an outstanding arrest warrant. The device is black in color and has a red button on one side.

The device was seized with a black case. The number sequence ·'IMEi 015734002814926" appear

on the back side of the device. This device is currently in ATF custody.

                                     ITEMS TO BE SEIZED

          5.   The items/information to be seized from the device described above and in

Attachment A, which constitute the fruits, instrumentalities. and evidence of possession with

intent to distribute and distribution of a controlled substance in violation 21 U .S.C. § 841 (a)(l ):

include the items/information listed in Attachment B. which is incorporated herein and attached

hereto.

          6.    All digital or electronic information stored inside the cellular telephone would

reveal evidence of drug trafficking, including, but not limited to, any and all names and/or aliases,

addresses, telephone numbers, stored images, and/or other information, which identifies possible

associates and/or co-conspirators;

          7.    All digital or electronic information stored inside the cellular telephone would

reveal evidence of drug trafficking, including. but not limited to, any and all names and/or aliases,

addresses. telephone numbers. dates of calls, times of calls, and/or duration of calls. which

identifies calls made to and/or from;




                                                  3
       Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 7 of 18




       8.      All digital or electronic information stored inside the cellular telephone would

reveal evidence of drug trafficking. including but not limited to, any and all stored voice mail, text

messages. and/or e-mails:

       9.      All digital or electronic information stored inside the cellular telephone would

reveal evidence of drug trafficking. including. but not limited to, any and all stored images. photos,

videos. and pictures;

        l 0.   All digital or electronic infom1ation stored inside the cellular telephone would

constitute indicia of ownership and/or use of such devices.

                                       PROBABLE CAUSE

        11.    The information contained within this affidavit is known through speaking with

agents. investigators and other law enforcement professionals involved in this investigation. From

reviewing written reports regarding this investigation, and from my personal involvement in this

investigation. Some of the details are relied upon from fellow law enforcement personnel. as

conveyed through both verbal and written reports. The Affiant knows the following:

         ATF 779060-19-0169 / 5/16/19 / Controlled Purchase ofMethamphctaminc.

        12.     On or about 5/16/19. ATF conducted a covert operation which included the

utilization of an undercover agent. Bambidele OGUNBIYI was contacted on his cellular device

to arrange the procurement of methamphetamine.                  OGUNBIYI agreed to exchange

methamphetamine for U .S. Currency.        On this date OGUNBIYI arrived at a predetermined

location and distributed approximately 113 grams of methamphetamine for $950. The funds were

provided to OGUNBIYI and the narcotics were remanded to ATF custody.                  The event was

audio/video recorded and observed by multiple law enforcement personnel.              The suspected

narcotics were subsequently lab tested and confirmed positive for methamphetamine.



                                                  4
       Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 8 of 18




              Sedgwick Countv Sheriff/ 20S011750 I 12/16/2020 I Controlled Buy

       13.       Sedgwick County Sheriffs Office. Detective (Det.) Headings. contacted Crystal

DUNCAN, who resides with OGUNBIYI. Det. Headings witnessed that DUNCAN had posted

approximately 100 suspected counterfeit OxyContin pills containing fentanyl (on 12/04/2020).

DUNCAN's Snapchat name indicated ··cc_duncan2020."'            Det. Headings had messaged her on

Snapchat and inquired about buying 100 of these pills. DUNCAN initially said it would be $800.00.

Det. Headings sent a message to DUNCAN to provide her with a cellular telephone number for her

to text because it appeared that she was not on Snapchat frequently. DUNCAN contacted the provided

number on 12/15/2020 and identified herself as '"CC,"' which is on her Snapchat nan1e and Facebook

name. DUNCAN only utilized the phone number '·316-553-9854:· All communications regarding

the sale of controlled substances were conducted via cellular telephone calls and texts. On 12/ 16/20,

DUNCAN said that she would have to have at least $1000.00 for the pills.

        14.      Det. Headings arrived at QuikTrip, 324 S West St Wichita, Sedgwick County,

Kansas, at approximately 1215 hours and parked on the north end of the lot near the building. At

1224. a silver or tan Cadillac arrived and parked in the stall to the north. Det. Headings exited his

vehicle and entered the passenger seat of the Cadillac. Det. Headings positively identify the driver as

Crystal DUNCAN. DUNCAN pulled a clear bag out of her purse that contained blue pills. Det.

Headings exchanged $1.000.00 of US Currency for the pills while seated in her passenger seat.

Following the encounter. DUNCAN was surveilled to 141 S Custer in Wichita, KS. Thereafter. a

··TruNarc•· test confirmed a positive result for a controlled substance. At this juncture, Detectives

arranged for a covert camera to be placed in near proximity to 141 S Custer on 12/23/2020.




                                                   5
        Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 9 of 18




                 Sedgwick County Sheriff/ 20S011994 / 12/24/2020 / Trash Pull

       15.       On 12/24/2020. at approximately 0500, a trash pull was conducted at 141 S Custer.

Wichita, Sedgwick County. Kansas. Det. Headings believed that Crystal DUNCAN and Bamidele

OGUNBIYI (AKA '·Bambi .. ) may reside at this location. In the trash, Det. Jausel located a gallon

zip lock plastic bag with a large quantity of methamphetamine residue, estimated to be about 1

gram or more. Det. Headings tested the meth using a Nark II test kit. The test confirmed the

presence of methamphetamine/amphetamine. Det. Jausel also found plastic bags with torn corners

("'Corner tear'· bags). ··Corner tear.. bags refer to how drugs are placed in plastic sandwich bags,

tied, and torn away from the rest of the bag.

               Sedgwick County Sheriff/ 20S012117 / 12/29/2020 I Controlled Buy

        16.       Det. Headings arrived at QuikTrip, 324 S West St, Wichita, Sedgwick County,

Kansas, at approximately 1205 hours and parked on the north end of the lot near the building. Around

1210, a silver or tan Cadillac arrived and parked in the stall. Det. Headings exited his vehicle and

entered the passenger seat of the Cadillac and positivel1 identify the driver as Crystal DUNCAN.

Crystal DUNCAN handed a clear bag of blue pills to Det. Headings in exchanged for $1,000.00 of

US Currency. Det. Headings utilized cellular telephone / device communications to arrange the

transaction.

              Sedgwick County Sheriff/ 21S000235 / 01/08/2021 / Controlled Buy

        17.       On or about Ol /08/2021, Det. Headings negotiated a controlled substance transaction

via text message, for a quarter pound of methamphetamine and 50 counterfeit fentanyl pills, in

exchange for $2.100.00. At about 1005, a silver or tan Cadillac arrived at QuikTrip, 324 S West St,

Wichita, Sedgwick County, Kansas. and parked in the stall to the north end of the lot. Det. Headings

arrived at QuikTrip. 324 S West St. Wichita Sedgwick County, Kansas. exited his vehicle and entered



                                                   6
       Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 10 of 18




the passenger seat of the Cadillac. Det. Headings was able to positively identify the driver as

DUNCAN. DUNC AN handed Det. Headings a cloth Crown Royal bag that contained a clear bag of

approximately 50 blue pills and a clear bag that contained approximately I/41b of methamphetamine.

Det. Headings provided DUNCAN $2,100.00 of U.S. Currency for controlled substances.

OGUNBIYl arrived at QuikTrip, 324 S West St. Wichita, Sedgwick County, Kansas, around 1005

hours and parked in a stall south of DUNCAN. It appeared that he met with another black in color

SUV and observed the transaction with Det. Headings. Det. Headings received positive results for

the suspected narcotics after testing with TruNarc.

           Sedgwick County Sheriff/ 21S000453 / 01/15/2021 / Controlled Buy

        18.      On or about, 01/15/2021, at approximately 1400 hours, Det. Headings sent DUNCAN

a text message at 316-553-9854. requesting the purchase of controlled substances. DUNCAN agreed

to I /4 lb. of Methamphetamine and I 00 counterfeit M30 pills that are suspected to contain fentanyl

for $2,600.00 of US Currency. DUNCAN requested to meet at Dillon's. The address is 640 N West

St. Wichita, Sedgwick County, KS. DUNCAN indicated that she was employed as a security guard

at the grocer.

        At approximately 1603 hours, Detectives arrived in the area and spotted DUNCAN"s tan

Cadillac. Det. Headings arrived at approximately 1604 hours. Thereafter, DUNCA~ entered Det.

Heading's vehicle. She was holding a torn diaper bag that contained approximately I /4 lb of

methamphetamine in a clear sandwich bag that was not tied or sealed and a tied off sandwich bag

containing what appeared to be approximately 100 counterfeit M30 blue pills. Det. Headings provided

DUNCAN $2,600.00 in US Currency. DUNCAN then engaged Det. Headings in a discussion about

her ·'guy'· being concerned he was a '·fed ...




                                                      7
      Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 11 of 18




       On or about 01/20/2021. Det. Headings had the methamphetamine tested with the TruNarc.

resulting in positive confirmation.

          Sedgwick Countv Sheriff/ 21S000576 / 01/19/2021 / Controlled Buy

        19.     On or about 01/19/2021, Det. Headings sent a text message to DUNCAN at 316-553-

9854 to arrange a controlled purchase of narcotics. Around 1746 hours, DUNCAN is witnessed

pulling into her driveway. DUNCAN went inside briefly and then departed to Dillon's. Around 181 l

hours, she replied ·'At work:· Around 1815 hours. Det. Headings sent the text. ·'Oh can u do 100 30s

or tomorrow better:' This is an inquiry as to if she can sell 100 counterfeit pil1s containing fentanyl.

At 1827 hours, she replied, ·'Yes I can:· At approximately 1833 hours. Det. Headings sent. --Hey like

30 min?'" At 1834 hours, Det. Headings observed a red convertible Camaro arrive at 141 S Custer,

Wichita_ Sedg½ick County, KS. A black male who appeared to be OGUNBIYI, wearing all black

clothes and a black hat, went inside. At approximately. 1836 hours, OGUNBIYI exited his house with

what appeared to be a clear sandwich bag tied off ½ith a long tail coming from his right hand as he

walked back to the Camaro. Around 1839 hours, DUNCAN replied, '·Yes come to dillons.'·

OGUNBIYI arrived at Dillon's and parked next to DlJNCAN's Cadillac at about 1839 hours.

DUNCAN engaged OGUNBIYrs at his car. Det. Headings believed that OGUNBIYI and DUNCAN

were using their cell phones to communicate and facilitate the pending controlled substance

transaction. At 1843 hours, Det. Headings text ... Bet. Ill be about 30. Il1 get at u.'· Around 1844 hours.

she replied. ·'Ok.,. Around 1903 hours. Det. Headings text, "Tryna hurry. Bout IO min. Gonna b late

getn my kids ... Shortly after. Detectives witnessed OGUNBIYI leave Dillon's. Thereafter, Det.

Headings saw DUNCAN walking from the front area of Dillon's towards his vehicle. DUNCAN

entered Det. Headings· vehicle and delivered a clear plastic sandv,1ich bag tied off with a long tail.

just as was seen in BAMBrs hand at 141 S Custer as he left the residence. The bag appeared to



                                                    8
      Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 12 of 18




contain the 100 blue counterfeit fentanyl pills with the improper ''M'" imprint on them. Det. Headings

provided DUNCAN $1,000.00 in U.S. Currency.

        Sedgwick County Sheriff/ 21S000638 / 01/21/2021 / OGUNBIYI Arrest

       20.     On or about 0l/2l/202L around 1916 hours, OGUNBIYI was stopped at 200 S St

Paul, Wichita, Sedgwick County, KS. OGUNBIYI was driving the aforementioned Cadillac XTS.

OGUNBIYI was the sole occupant. A loaded 9MM handgun was recovered near OGUNBIYI.

Moreover. OGUNBIYI possessed a round of ammunition in his pocket matching the ammo from

the loaded pistol. OGUNBIYI is a convicted felon. OGUNBIYI was previously convicted for

criminal possession of weapon by felon on January 31. 2020 under Sedgwick County Court case

number 20 I 9CR000414. During the incident, law enforcement observed Oxycodone pills in an

unlabeled bottle in plain view. OGUNBIYI possessed approximately $882.24 in U.S. Currency of

suspected drug proceeds. OGUNBIYI did not possess a valid driver's license during the incident.

OGUNBIYI possessed a cellular telephone that was seized during the incident. Det. Headings

authored a search warrant for the device: however, it has not been accessed yet, due to Apple

encryption and security.

   Sedgwick County Sheriff/ 21S000596 / 01/21/2021 / Search Warrant of Residence

        21.    On or about 0 1/21/2021. at approximately 1909 hours, a search warrant from the

18th Judicial District was executed at the residence occupied by OGUNBIYI and DUNCAN. The

residence is located at 141 S Custer, Wichita. Sedgwick County. KS. A loaded 9mm handgun was

located on top of a microwave in the Kitchen. A Ruger 5.56mm rifle was propped up next to the

stairs leading to the basement and was loaded. A continued search of the residence led to the

seizure of 452 grams of suspected methamphetamine, located in an unsecured tub on the floor of

master bedroom. 53 counterfeit OxyContin pills suspected of containing fentanyl were also



                                                  9
      Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 13 of 18




recovered with packaging materials and scales in the residence. Ammunition was recovered in

various locations throughout the master bedroom. Indicia for both DUNCAN and OGUNBIYI

was discovered within the master bedroom.

Sedgwick Countv Sheriff/ Search Warrant for "Communications" on DUNCAN's cell phone
I 01/28/2021

       22.      DUNCAN used the same cell phone number throughout the Sheriffs investigation.

The phone was seized by the Sedgwick County Sheriffs Office and identified as a black Samsung

cell phone with serial number R9AN707BCLJ. A search warrant for the cellular device was obtained

by Det. Headings. The warrant was signed by the Honorable Judge Syrios in the 18tl1 Judicial District

on O1/28/2021 at l 034 hours. The warrant and the device were provided to Detective Noel for a

forensic extraction.

        23.     Det. Headings located a communication to a contact in the phone under the name of

"DADDY:· including other special characters. with a number of 573-337-0698. The text exchange

occurred on 10/3 I /2020. This contact on the phone depicted a picture of OGUNBIYI on it. This is a

known phone number for OGUNBIYI. OGUNBIYI and DUNCAN were in a dating relationship and

have subsequently conveyed marriage through social media. Content on the device indicates a

romantic relationship between the couple.

        24.     In an instant message conversation with ·'DADDY:· DUNCAN engages in

dialogue regarding ··work'' affixed to a photograph of what appears to be packaged meth. The

download indicates the photograph of suspected methamphetamine is sent from OGUNBIYI to

DUNCAN. In the conversation. OGUNBIYI is upset that DUNCAN has taken some of his '·work'"

a.k.a. meth. The duo also discusses another unidentified product that DUNCAN has taken from

OGUNBIYI        and    is   selling   for   --600:·    ··Work"   is   a   common   name    used   for




                                                      IO
      Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 14 of 18




methamphetamine/narcotics and Det.         Headings    had   used this word      '·work'" to order

methamphetamine from DUNCAN.

       25.     On or about 5/26/21. your Affiant transferred OGUNBIYI to the United States

Marshall Service (USMS) for an initial appearance before a United States Magistrate Judge. While

asking identifying information for the USMS and the Federal DNA Database. OGUNBIYI

provided a contact number. The number was documented as (573) 337-0699. Your Affiant is

familiar with individuals providing one or two digits off an accurate identifier. Your Affiant has

reviewed numerous criminal histories where the encountered suspect provides an inaccurate

number when listing a date of birth. social and or telephone number, amongst other identifiers.

The number provided on this date was one digit off the number identified by Det. Headings for

OGUNBIYI.

               Sedgwick County Sheriff/ 5/25/21 I OGUNBIYI Federal Arrest

       26.     On 5/25/21, ATF Special Agent Brett Watterson and personnel from the Sedgwick

County Sheriffs Office located and arrested OGUNBIYI for an outstanding arrest warrant. When

encountered OGUNBIYI was a passenger in a vehicle driven by his son. A cellular device and

approximately $3,859 in U.S. Currency were seized from OGUNBIYI as a result of the detention.

On 5/26/21. a K9 trained to detect the presence of narcotics odor was utilized to assess the currency

seized from OGUNBIYI. Viktor, a Sedgwick County Sheriffs Department K9 positively alerted

during a controlled test. The results indicated that the K9 smelled narcotics on the seized U.S.

Currency.




                                                 11
       Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 15 of 18




                                             CONCLUSION

        27.     Based on my training and experience. consultation with other experience

investigators, and other sources of information, I know the following regarding persons engaged

in drug trafficking (hereinafter ..traffickers.. ):

                A.       That traffickers will often have other members of the organization purchase

                         or otherwise obtain items such as cellular telephones and then use the items

                         communally: sometimes trading cellular telephones to avoid detection by

                         law enforcement:

                 B.      That traffickers often maintain extensive contact with individuals from

                         whom they receive and/or to whom they distribute drugs and that, in order

                         to do this effectively, these persons typically maintain access to telephone

                         communication;

                 C.      That traffickers frequently use cellular telephones to communicate verbally.

                         textually and via social media to communicate various types of information

                         with organization members, such as: (a) telephone numbers of co-

                         conspirators: (b) the identities of co-conspirators involved in drug

                         trafficking: (c) locations of meetings with co-conspirators: (d) prices and

                         quantities of controlled substances; and (e) alerts or warnings of the

                         presence of law enforcement:

                 D.      That traffickers sometimes maintain within their phones digital or electronic

                         information regarding amounts of drugs sold and "fronted": monies owed:

                         profits and their disposition; associates' names. phone numbers and

                         telephone pager codes and that these records may include, but are not



                                                      12
      Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 16 of 18




                      limited to, receipts, notes. ledgers. and other documents related to the

                      transportation. ordering, sale, manufacture and distribution of controlled

                       substances;

               E.      That traffickers and persons illegally in possession of firearms occasionally

                       take, or cause to be taken, photographs or videos of themselves, their co-

                       conspirators. their associates, their property, their illegal activities, and their

                       contraband.

       28.     Based on the foregoing. l believe there is probable cause to believe that items,

which constitute the fruits. instrumentalities. and evidence of possession with intent to distribute

and distribution of a controlled substance in violation 21 U.S.C. § 841(a)(1) will be found in the

aforementioned electronic device.




       Attested to by the Affiant. in accordance with the requirements of Fed. R. Crim. P. 41 (d)(3).

by telephone or other reliable electronic means. to wit: telephone conferencing on July 14, 202 I.




                                                HONORABLE KENNETH G. GALE
                                                UNITED STATES MAGlSTRATE JUDGE




                                                   13
    Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 17 of 18




                                       A ITACHMENT A
A. The property to be searched is a cellular phone. Specifically, a black T-Mobile cellular device.

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   outstanding arrest warrant. The device is black in color and has a red button on one side. The

   device was seized with a black case. The number sequence "IMEi 015734002814926" appear

   on the back side of the device. This device is currently in ATF custody.
Case 6:21-mj-06120-KGG Document 1 Filed 07/14/21 Page 18 of 18




                               AITACHMENTB


  A.   All digital or electronic infonnation stored inside the cellular telephones would

       reveal evidence of drug trafficking, including, but not limited to, any and all names

       and/or aliases, addresses, telephone numbers, stored images, and/or other

       information, which identifies possible associates and/or co-conspirators;

  B.   All digital or electronic infonnation stored inside the cellular telephones would

       reveal evidence of drug trafficking, including, but not limited to, any and all names

       and/or aliases, addresses, telephone numbers, dates of calls, times of calls, and/or

       duration of calls, which identifies calls made to and/or from;

  C.   All digital or electronic infonnation stored inside the cellular telephones would

       reveal evidence of drug trafficking, including but not limited to, any and all stored

       voice mail, text messages, and/or e-mails;

  D.   All digital or electronic infonnation stored inside the cellular telephone would

       reveal evidence of drug trafficking, including, but not limited to, any and all stored

        images, photos, videos, and pictures;

  E.    All digital or electronic infonnation stored inside the cellular telephone would

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